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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS

_________________________
                         )
JOHN DOE,                )
                         )
      Plaintiff,         )
                         )              CIVIL ACTION NO. 3:16-CV-30184-MGM
v.                       )
                         )
WILLIAMS COLLEGE,        )
                         )
      Defendant.         )
_________________________)


                             MOTION FOR LEAVE TO FILE
                         NOTICE OF WITHDRAWAL UNDER SEAL

        Pursuant to Local Rule 83.5.2(c)(1)(A), as motions are pending in the above-captioned case,

Plaintiff’s counsel hereby seeks leave of the Court to withdraw its appearance on behalf of Plaintiff

John Doe. Plaintiff is preceded by the appearance of successor counsel, Arnold Rosenfeld, Esq. and

Krista Wroldson-Miller, Esq.

        On June 30, 2020, the Massachusetts Supreme Judicial Court (“SJC”) entered an Order of

Term Suspension/Partially Stayed that prohibits Plaintiff’s counsel Rossi from engaging in the

practice of law for one month. The suspension commences July 29, 2020 and ends August 29, 2020.

In September 2020, Rossi will be reinstated.

        The reason for this request for the withdrawal notice to be filed under seal is that SJC

Rule 4:01 Section 17(1)(a), requires a suspended attorney to “file a notice of withdrawal [] with

every court [] before which a matter is pending together with” a copy of the notices sent to

clients pursuant to paragraph (c) of said subsection. As this notice contains Plaintiff’s true

identity, filing under seal is necessary.

        Respectfully submitted,

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Date: July 6, 2020
                                               JOHN DOE, PLAINTIFF


                                               By: /s/ Stacey Elin Rossi____________
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                              Certificate of Compliance with L.R. 7.1

Counsel have conferred in good faith in an effort to resolve or narrow the issues presented in this
motion. Defendant assents to the allowance of leave for Plaintiff’s counsel to withdraw.


                                        Certificate of Service

This document was served electronically upon all counsel of record by filing through the ECF system
on this 6th of July 2020.


                                               /s/ Stacey Elin Rossi____________
                                               STACEY ELIN ROSSI




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